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                                                                              U.S. DISTRICT COURT
          UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                            CENTRAL DIVISION


 PAMELA WHITNEY,
                                                      ORDER OF DISMISSAL WITH
                                                            PREJUDICE
                Plaintiff,
 v.
                                                            Case No. 2:19-cv-00849
 4370 SOUTH HOLDINGS, LLC, a Utah
 limited liability company; ASPEN TREE
                                                      Magistrate Judge Daphne A. Oberg
 ACQUISITIONS, INC. d/b/a FLOWER
 PATCH, a Utah Corporation; John Does I –
 X; XYZ Corporations and/or Limited
 Liability Companies I – X.

                Defendants.


       Before the court is the parties’ Stipulated Motion to Dismiss with Prejudice, (Doc. No.

42). The parties seek to dismiss all of Plaintiff’s remaining claims against Defendants 4370

South Holdings, L.L.C. and Aspen Tree Acquisitions, Inc. dba Flower Patch with prejudice.

Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, and based upon the stipulated

motion, the court GRANTS the motion and ORDERS that all claims against Defendants 4370

South Holdings, L.L.C. and Aspen Tree Acquisitions, Inc. dba Flower Patch are dismissed with

prejudice. The parties shall each bear their own attorneys’ fees and costs.

        DATED this 16th day of February, 2022.

                                                     BY THE COURT:


                                                     ______________________________
                                                     Daphne A. Oberg
                                                     United States Magistrate Judge
